
652 So.2d 1279 (1995)
In the Interest of A.J.H., a child, Appellant,
v.
STATE of Florida, Appellee.
No. 94-3459.
District Court of Appeal of Florida, First District.
April 13, 1995.
Rehearing Denied May 5, 1995.
*1280 Nancy A. Daniels, Public Defender, P. Douglas Brinkmeyer, Asst. Public Defender, Tallahassee, for appellant.
Robert A. Butterworth, Atty. Gen., Giselle Lylen Rivera, Asst. Atty. Gen., Tallahassee, for appellee.
PER CURIAM.
Appellant seeks review of an order adjudicating him a delinquent child based upon findings that he had violated section 790.22(3), Florida Statutes (Supp. 1994) (unlawful possession of a firearm by a minor); section 790.01(2), Florida Statutes (1993) (carrying a concealed firearm); and section 790.23(1)(a), Florida Statutes (Supp. 1994) (possession of a firearm by one previously found to have committed a delinquent act that would be a felony if committed by an adult). He argues that, because all of the violations of law arose out of a single episode, an adjudication of delinquency based upon all three cannot stand. According to appellant, two of the three violations must be deleted. We agree. See State v. Stearns, 645 So.2d 417, 418 (Fla. 1994) (interpreting State v. Brown, 633 So.2d 1059 (Fla. 1994) as standing for proposition that "a defendant could not be convicted and sentenced for two crimes involving a firearm that arose out of the same criminal episode"). Accordingly, while we affirm the order of adjudication and disposition based upon the finding that appellant violated section 790.23(1)(a) (possession of a firearm by one previously found to have committed a delinquent act that would be a felony if committed by an adult), we remand with directions that the trial court enter an amended order of adjudication and disposition that makes no reference to a violation of either section 790.22(3) (unlawful possession of a firearm by a minor) or section 790.01(2) (carrying a concealed firearm).
AFFIRMED and REMANDED, with directions.
WEBSTER, MICKLE and VAN NORTWICK, JJ., concur.
